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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

  ME2 PRODUCTIONS, INC, ET AL., )       CIVIL NO. 17-00320 JMS-RLP
                                 )
                 Plaintiffs,     )      ORDER (1) GRANTING PLAINTIFFS’
                                 )      MOTION FOR LEAVE TO FILE AMENDED
            vs.                  )      COMPLAINT; (2) GRANTING
                                 )      PLAINTIFFS’ EX PARTE MOTION FOR
  DRAGON MEDIA, INC. D/B/A/      )      EXTENSION OF TIME TO SERVE
  DRAGON BOX, ET AL.,            )      COMPLAINT AND SUMMONS; AND (3)
                                 )      DENYING PLAINTIFFS’ MOTION TO
                 Defendants.     )      STRIKE PORTIONS OF DEFENDANTS’
                                 )      OPPOSITION
  ______________________________ )

       ORDER (1) GRANTING PLAINTIFFS’ MOTION FOR LEAVE TO FILE
   AMENDED COMPLAINT; (2) GRANTING PLAINTIFFS’ EX PARTE MOTION FOR
  EXTENSION OF TIME TO SERVE COMPLAINT AND SUMMONS; AND (3) DENYING
   PLAINTIFFS’ MOTION TO STRIKE PORTIONS OF DEFENDANTS’ OPPOSITION

             Three motions are before the Court:        (1) Plaintiffs’

  Motion for Leave to File Amended Complaint; (2) Plaintiffs’ Ex

  Parte Motion for Extension of Time to Serve Complaint and

  Summons; and (3) Plaintiffs’ Motion to Strike Portions of

  Defendants’ Opposition.      ECF Nos. 61, 69, 70.     The Court finds

  these matters suitable for disposition without a hearing pursuant

  to Local Rule 7.2(d).     After carefully reviewing the submissions

  of the parties and the relevant legal authority, the Court ORDERS

  as follows.

                                  BACKGROUND

             Plaintiff ME2 Productions, Inc. originally filed this

  action on July 9, 2017, against twenty unknown Doe defendants who

  allegedly installed and used BitTorrent software to download and

  distribute Plaintiff’s copyrighted work.         ECF No. 1 ¶¶ 19, 30-43.
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  On July 11, 2017, Plaintiff ME2 Productions, Inc. received leave

  to serve discovery to serve third party subpoenas to learn the

  identity of the Doe defendants.       ECF No. 10.    Following this

  third party discovery, Plaintiff ME2 Productions, Inc. dismissed

  all but one of the Doe defendants in the original Complaint.              See

  ECF Nos. 19, 24, 27, 25, 26.       On November 22, 2017, Plaintiff ME2

  Productions, Inc. filed a First Amended Complaint, joining

  Plaintiff Venice PI, LLC and asserting claims for copyright

  infringement against Defendant Jeb Balubar, formerly identified

  as Doe Defendant 2.     ECF No. 28.

             Plaintiffs filed a Second Amended Complaint on December

  12, 2017, amending to correct the legal name of Mr. Balubar.              ECF

  Nos. 34, 35.    Plaintiffs received leave to file a Third Amended

  Complaint on January 17, 2018, asserting claims for contributory

  copyright infringement against Dragon Media, Inc. d/b/a Dragon

  Box and Paul Christoforo (“Dragon Defendants”).          ECF Nos. 37, 38.

  Specifically, Plaintiffs allege that the Dragon Defendants

  provided a device to Mr. Balubar that “connects customers to

  unauthorized online sources that stream Plaintiffs’ Copyrighted

  Works and/or make copies of Plaintiffs Copyrighted Works via the

  BitTorrent client application.”       ECF No. 38 ¶ 111.

             Plaintiffs then voluntarily dismissed their claims

  against Mr. Balubar on February 9, 2018.         ECF No. 45.      The Dragon

  Defendants filed a motion to dismiss the Third Amended Complaint

  on February 14, 2018.     ECF No. 48.     In response, Plaintiffs filed

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  the present Motion seeking leave to file a Fourth Amended

  Complaint.

                                  DISCUSSION

               I.    Plaintiffs’ Motion for Leave to File Amended

  Complaint is GRANTED.

               Under Rule 15(a)(2) “a party may amend its pleading

  only with the opposing party’s written consent or the court’s

  leave.”   Fed. R. Civ. P. 15(a)(2).       Rule 15(a)(2) states that

  leave to amend should be freely given when justice so requires.

  Id.   Whether to grant leave to amend is within the court’s

  discretion.       Foman v. Davis, 371 U.S. 178, 182 (1962).       In

  determining whether to grant leave to amend, courts consider

  several factors including undue delay, whether the opposing party

  will be prejudiced, futility of the amendment, and bad faith by

  the movant.       Id.

               Here, the Dragon Defendants do not argue that the

  proposed amendments would be futile, that they would be

  prejudiced by the amendments, or that Plaintiffs delayed in

  seeking amendment.      See ECF No. 67.    Instead, the Dragon

  Defendants argue that Plaintiffs should not be given leave to

  amend because Plaintiffs’ proposed Fourth Amended Complaint

  abandons the infringement claims that were asserted in the

  original Complaint and instead asserts claims for contributory

  infringement based on streaming on devices.         Id. at 9.     The


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  Dragon Defendants argue that “there is no reason why plaintiffs

  should be allowed to continue to morph their case into one wholly

  divorced from the original complaint in claims and parties.”              Id.

             Although the Court understands the Dragon Defendants’

  frustrations with the procedural history of this case, the

  arguments that they assert in their Opposition do not provide a

  basis to deny Plaintiffs’ request for leave to amend.             The Dragon

  Defendants were first named in the Third Amended Complaint filed

  on January 17, 2018, and were served on January 31, 2018.             See

  ECF Nos. 38, 43, 44.     The proposed Fourth Amended Complaint

  withdraws the claim for contributory infringement based upon the

  BitTorrent protocol, which the Dragon Defendants sought dismiss,

  and asserts claims for contributory copyright infringement based

  on inducement and material contribution.         The Dragon Defendants

  have not argued that these amendments are futile.          Further, there

  is no evidence of undue delay or prejudice.         Plaintiffs sought

  leave to amend less than a month after the Dragon Defendants

  filed their motion to dismiss the Third Amended Complaint.             The

  Rule 16 Scheduling Conference has been set for June 7, 2018.              ECF

  No. 58.   Given the relatively early stage of this litigation, the

  Court finds that Plaintiffs have not delayed in seeking amendment

  and the Dragon Defendants will not be prejudiced if Plaintiffs

  are given leave.     Accordingly, Plaintiffs are given leave to file

  their Fourth Amended Complaint no later than April 23, 2018.

             II. Plaintiffs’ Ex Parte Motion for Extension of Time


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  to Serve Complaint and Summons is GRANTED.

             Because Plaintiffs have been given leave to file their

  Fourth Amended Complaint, the Court finds good cause exists to

  extend the time to serve up to and including May 4, 2018.

             III. Plaintiffs’ Motion to Strike Portions of

  Defendants’ Opposition is DENIED.

             Rule 12(f) of the Federal Rules of Civil Procedure

  provides that the court “may strike from a pleading an

  insufficient defense or any redundant, immaterial, impertinent,

  or scandalous matter.”      Fed. R. Civ. P. 12(f).      In their Motion

  to Strike, Plaintiffs ask the Court to strike portions of the

  Dragon Defendants’ Opposition that discuss Plaintiff ME2

  Production, Inc.’s “efforts to enforce its Copyright . . . and

  news coverage regarding these efforts.”        ECF No. 70-1.      The Court

  has carefully reviewed the statements in the Dragon Defendants’

  Opposition and rejects Plaintiffs’ arguments that they will be

  prejudiced by these statements remaining on the record in this

  action.   The portions at issue discuss news coverage regarding

  copyright infringement cases and, although Plaintiffs may

  disagree with the Dragon Defendants’ characterizations, the

  statements made are not impertinent or scandalous.          The Court

  DENIES Plaintiffs’ Motion to Strike.

                                  CONCLUSION

             Based upon the foregoing, the Court ORDERS as follows:


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             (1) Plaintiffs’ Motion for Leave to File Amended

  Complaint is GRANTED.     Plaintiffs are given leave to file their

  Fourth Amended Complaint no later than April 23, 2018.

             (2) Plaintiffs’ Ex Parte Motion for Extension of Time

  to Serve Complaint and Summons is GRANTED.         The time to serve is

  extended up to and including May 4, 2018.

             (3) Plaintiffs’ Motion to Strike Portions of

  Defendants’ Opposition is DENIED.

             IT IS SO ORDERED.

             DATED AT HONOLULU, HAWAII, APRIL 18, 2018.




                                     _____________________________
                                     Richard L. Puglisi
                                     United States Magistrate Judge



  ME2 PRODS., INC., ET AL. V. DRAGON MEDIA, INC., ET AL.; CIVIL NO.
  17-00320 JMS-RLP; ORDER (1) GRANTING PLAINTIFFS’ MOTION FOR LEAVE TO
  FILE AMENDED COMPLAINT; (2) GRANTING PLAINTIFFS’ EX PARTE MOTION FOR
  EXTENSION OF TIME TO SERVE COMPLAINT AND SUMMONS; AND (3) DENYING
  PLAINTIFFS’ MOTION TO STRIKE PORTIONS OF DEFENDANTS’ OPPOSITION




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